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                                                                                          2018 Oct-16 AM 09:07
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

JAMES EDWARD BARBER, JR.,                    )
AIS #Z702,                                   )
                                             )
        Plaintiff,                           )
                                             )
vs.                                          )
                                             ) CASE NO. 2:15-CV-00997-JHE
HUGH HOOD; et al.,                           )
                                             )
        Defendants.                          )


                       RESPONSE TO MOTION TO EXTEND TIME

        COMES NOW Commissioner Jefferson S. Dunn, a Defendant in the above-entitled

action, to inform the Court that he has no objection to the Plaintiff’s Motion for Extension of

Time to Submit Questions and Topics for Voir Dire, provided that the extension is granted as to

all parties.

        Dated this the 16th day of October, 2018.

                                             Respectfully Submitted,

                                             Steve Marshall
                                             Attorney General


                                             /s/ Gary L. Willford, Jr.
                                             Gary L. Willford, Jr. (WIL198)
                                             Assistant Attorney General


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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 16th day of October, 2018, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the following (or by U.S. Mail to the non-CM-ECF participants):

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